         Case 2:23-cr-00024-JLS Document 43 Filed 01/24/23 Page 1 of 1 Page ID #:462




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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                        CASE NUMBER
                                                     PLAINTIFF
                                 v.                              CR No. 2:23-cr-00024-
Christopher K. Kamon
                                                                             WAIVER OF INDICTMENT
                                                DEFENDANT(S).


     I~ Christopher K. Kamon                                                             ,the above-named defendant,
who is accused of Wire fraud; Criminal forfeiture                                                               in
violation of 18 U.S.C. 1343: ]8 U.S.C. 981(a)(1)(C): 28 U.S.C. 2461:                                          ,being
advised of the nature of the charge, the proposed information, and of my rights, hereby waive in open court on
O 1/24/2023                                    prosecution by indictment and consent that the proceedings may be by
information rather than by indictment.


                                                                   Defendant


                                                                    ounselfor Defendant


If defendant is not an English speaker, include the following:
I,                                             am fluent in written and spoken English and
languages. I accurately translated this Waiver of Indictment from English into
to defendant                                                 on this date.


Date
                                                                  Interpreter


Before
                            Judicial Officer


                                                     WAIVER OF INDICTMENT
CR-57(05/08)[AO 455 Rev. 5/85]                                                                                Page 1 of
